Case 17-33832 Document 20 Filed in TXSB on 07/03/17 Page 1 of 8

Fill in this information to identify the case:

Debtor name Fretz Construction Company

United States Bankruptcy Courtfor the: SOUTHERN D|STRICT OF TEXAS, HOUSTON D|V|SiON

Case number (if known) 17-33832

 

I:I Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule AlB: Assets - Real and Persona| Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitabie, or future interest.
include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. A|so include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. in Schedule AlB, list any executory contracts
or unexpired |eases. A|so list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

Be as complete and accurate as possib|e. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). A|so identify the form and line number to which the additional information applies. if an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedu|e, that gives the details for each asset in a particular category. List each asset only once. |n valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

l:l No. Go to Part 2.

l Yes Fiii in the information beiow.

Al| cash or cash equivalents owned or controlled by the debtor Current value of

debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

2. Cash on hand $767.71
3. Checking, savings, money market, or financial brokerage accounts (ldentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Prosperity Bank Operating Account Operating Account $6,568.71
3.2. Prosperity Bank Payro|| Account Payrol| Account $30.00
4. Other cash equivalents (/deniify a//)
Check from Texas Mutua| insurance Company - insurance Dividend to be turned over to
4,1, Trustee $12,235.00
5. Tota| of Part 1. $19,601_42
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
- No. Go to Pait 3.
|Il Yes Fiii in the information beiow.
Ofiicia| Form 206A/B Schedule A/B Assets - Reai and Personai Property page 1

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Debtor Fretz Construction Company Case number (/fknown) 17-33832
Name

 

Accounts receivable
10. Does the debtor have any accounts receivab|e?

El No. Go to Part 4.
l Yes Fill in the information below.

11. Accounts receivable

11b. Over 90 days o|d: 668,519.50 - 0.00 =.... $668,519.50
face amount doubtful or uncollectible accounts

 

 

 

 

 

 

 

 

 

 

 

 

12. Total of Part 3. $668,519_50
Current value on lines 113 +11b = line 12. Copy the total to line 82.
investments
13. Does the debtor own any investments?
- No. Go to Part 5.
Ei Yes Fiii in fha information beiow.
lnventory, excluding agriculture assets
18. Does the debtor own any inventory (exc|uding agriculture assets)?
. No. Go to Part 6.
l:i Yes Fill in the information below.
Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
- No. Go to Part 7.
m Yes Fill in the information below.
Office furniture, fixtures, and equipment; and collectibles
' 38. Does the debtor own or lease any office furniture, fixtures, equipment, or coilectibies? '
ij No. Go to Part 8.
l Yes Fiii in the information beiow.
Generai description Net book value of Valuation method used Current value of
debtor's interest for current value debtor's interest
(Where available)
39. Office furniture
Fixed Assets-See Attached List dated
12/31/2014. Attachment B39. May not be
correct but last one available. Estimated
Vaiue. Probab|y Overstated. U"k"°Wn N/A 5120’000-00
40. Office fixtures
41. Office equipment, including all computer equipment and
communication systems equipment and software
42. Collectibies Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stampl coin, or baseball card
collections; other collections, memorabi|ia, or collectibles
Ofiicia| Form 206A/B Schedule A/B Assets - Reai and Persona| Property page 2

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Case 17-33832 Document 20 Filed in TXSB on 07/03/17 Page 3 of 8

Debtor Fretz construction Company Case number f/fknown) 17-33832
Name

 

43. Total of Part 7.

$120,000.00
Add lines 39 through 42. Copy the total to line 86.

 

 

 

44. is a depreciation schedule available for any of the property listed in Part 7?
- No

l:i Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
- No

i:i Yes

Machiriery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

- No. Go to Part 9.
i:i Yes Fill in the information below.

Reai property
54. Does the debtor own or lease any real property?

i:l No. Go to Part10.
- ¥es Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
include street address or other debtor's interest (Where available)
description such as Assessor in property
Parcei Number (APN), and type
of property (for example,
acreage, factory. warehouse.
apartment or office building, if
available.
55-1- Ora| Leasehoid

interest in Premises

at 8945 Longpoint

Road, i-iouston,

Texas, Severai

Off`ices On|y

-Landiord Forney

Construction Co.

Leasehoid

N° Term on Lease lntel'e$t $o.oo NlA $0.00

 

 

56. Total of Part 9.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.

$0.00

 

 

 

57. is a depreciation schedule available for any of the property listed in Part 9?
- No

Ei Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
l No

U Yes

intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Ofiiciai Form 206AlB Schedule A/B Assets - Reai and Personai Property page 3

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Debtor Fretz Construction Company Case number (/fknown) 17-33832

 

Name

l No. coto Part11.
\:i Yes Fill in the information below.

Part 11: Ail other assets

70.

71.

72.

73.
74.

75.

Does the debtor own any other assets that have not yet been reported on this form?
include ali interests in executory contracts and unexpired leases not previously repoited on this form.

i:l No. Go to Part12.
l Yes Fiii in the information below.

Current value of
debtor's interest

Notes receivable
Description (include name of obligor)

Tax refunds and unused net operating losses (NOLs)
Description (for exampie. federai, state, local)

interests iri insurance policies or annuities

Causes of action against third parties (whether or not a lawsuit
has been filed)

Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

Retainages Held Projects -Coiiectabi|ity Unknown- May

be Subject to Offset $6421902-20
Nature of claim Retainage Due

Amount requested $642 902_ 20

 

 

76.

77.

?B.

?9.

Trusts, equitable or future interests in property

Other property of any kind not already listed Examples.‘ Season tickets,
country club membership

 

Total of Part 11.

$642,902.20
Add lines 71 through 77. Copy the total to line 90.

 

 

 

Has any of the property listed in Part 11 been appraised by a professional within the last year?
l No

I:i Yes

Ofiicial Form 206A/B Schedule A/B Assets - Reai and Personai Property page 4

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Besi Case Bankruptcy

Case 17-33832 Document 20 Filed in TXSB on 07/03/17 Page 5 of 8

Debtor Fretz Construction Company

Name

_Summa~

in Part 12 copy ali of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Ofiiciai Form 206A/B

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivab|e. Copy line 12, Part 3.

investments. Copy line 17, Part 4.

lnventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and coilectibies.
Cop y line 43, Part 7.

Machinery. equipment, and vehicles. Copy line 51, Part 8.

Reai property. Copy line 56, Part 9 ................................................

intangibles and intellectual property. Copy line 66, Part 10.

Aii other assets. Copy line 78, Part 11.

Current value of
personal property

$19,601.42
$0.00

$668,519.50

$0.00
$0.00
$0.00
$120,000.00

$0.00

......................................... >

$0.00

+ $642,902.20

Case number (/fknown) 17-33832

Current value of real
property

 

 

$0.00

 

 

 

Totai. Add lines 80 through 90 for each column

 

$1,451,023.12

 

+91b.

 

 

$0.00

 

 

Total of ali property on Schedule AlB. Add lines 91a+91b=92

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$1,451,023.12

 

 

Schedule A/B Assets - Reai and Personai Property

page 5
Best Case Bankruplcy

Case 17-33832 Document 20 Filed in TXSB on 07/03/17 Page 6 of 8

ATTACHMENT B39

Case 17-33832 Document 20 Filed in TXSB on 07/03/17 Page 7 of 8

ASSET DEPRECiATiON SHORT REPORT
Fretz Construction Company - Dec. 31, 2014

Asseis: 88 of 188 included
lni:lude: Exciude disposed assets
Mcthod: BOOK- Std Conv Appiied

Soit #1: Asset NC#

 

 

 

 

 

 

 

 

includes Secdon 119 ~'_-
Diite Acq Description MetiiILife Cost Saivage Value Depr Ensis Eog AliJepr curr Depr Enri Aanpr
Asset AIQ$: 01 -1420 - OONSTRUCTION EQU|FMENT
09/13{05 2005 Top Hai Traller ~ ViN "63083 58200 l 7 1.485.29 0.00 1,465,1§ 1.465.25 0.00 1.455.29
05/0 1108 Shop Fori<iiit SLP l 7 14.057.09 0.00 14.067.09 11.387.62 2.009.58 13.397.20
Toizls: 01-1420 - CDNSTRUCT!ON EQUiPMENT ( 2 zssets) 15,532.38 i_i_.ClO 15.532.38 12.85_2_.91 2.009.58 14.862.49
Aseet AlGll: 01-1430 » AUTOMOB|LES AND TRUCKS
01l25l04 2004 Ford F250 PU - ViN *'00039 SBZUD / 5 25,878,24 0.00 25.878.24 25.078.24 0.00 25,878.24
08125/07 2007 Lexus RX¢iCOl-i - ViN "05084 SLP l 5 53.519.83 0.00 53.519.83 53.519.83 0.00 53.519.83
Tofzis: 01-1430 - AUTCMCBILE$ AND TRUCKS ( 2 asseb l 79.398.07 0.00 79.398.07 79,398.07 0.00 79.398.07
Assi)t AlQ'F: 111-1440 - FURN|TURE & FiXTURES
1 1/25/01 Wood Sculptum RRF JR 58200} 7 800.00 0.00 800.00 800.00 0.00 800.00
OGIOBIOZ Newspaper & Phoio Framing 89200 I 7 1,185.07 0.00 1.185.07 1.185.07 0.00 1,185.07
11l22102 meima X350 ProleciorwlRF Remcie 58200/5 3.192.29 0.00 3.192.29 3.192.29 G.uD 3.192.29
04/05(05 Foiding Tabies (8) and Chair$ (25) -... 882001 5 1.645.70 0.00 1.646.70 1.646.70 0.00 1.846.70
10117/05 Phaser740iiDN 88200 l 5 2.766.87 0_00 2.765.87 2.76 5.87 0.00 2,76 B.B7
11[03/08 550 Sheet Feed Tray Ph€ser 74000N SBZUO I 5 545.17 0.00 645.17 645.17 0.00 545.17
1 1/18/06 Fiawer Bowis 88200 I 5 2,971.?4 0.00 2,971.74 2,9'11.74 0.00 2.971.74
01l06l05 Fujtsu Fi»6240 Scenner (iimberscan) SLP l 5 2.1$4.00 0.00 2.194.00 2.194.00 0.00 2,194.00
08!03/09 HP DC7§00 Compuier (Mis. Fretz) SLP l 5 1 .080.00 0.00 1.080.00 954.00 126.00 1.080.!10
08/17I09 HP 8730w EiiieBook Lapiop (RC) SLP l 5 1.875.60 0.00 1.575.60 1 ,656.78 21 B.Bz 1.875.60
05l25)10 Canon Pioiier SLP l 7 4.546.50 0.00 4.546.50 2,381.50 649.50 3.031.00
0311 9l12 HP 8200 Eiiie SFF Ccmpnter (MR) SLP l 5 2.119.54 0.00 2,119.54 777.17 423.91 1.201_08
04[16/12 HP 8200 Eiiie SFF Compuier (RRF Home) SLP l 5 2.219.13 0.00 2.219.13 776.70 443.83 1 .220.53
04/23/12 HP 8200 Eiiie SFF Compuier(JR) SLP I 5 2.535.76 0.00 2.535.76 887.51 507.15 1.394.66
06/01/12 2 HP Prcilani DL 3801= Sefvers SLP/ 10 38.537.00 0.00 38,537.00 8.101,69 3,353_70 9.955.39
06lD1/12 HP LTOS SAS Drive (Baokup Dfive) SLPI 10 5.553.23 0.00 5.553.23 879.26 555.32 1 .434.58
06/01/12 3 Netgear Pmsai'e GS752 TPS SLPI 10 5.709,11 0.00 5,709.11 903.94 570.91 1 .474.85
06101[12 2 Neigcer Prosafe \Mrelcss Access Poinis SLP l 10 652.00 0.00 652.80 109.69 69,28 178.97
06[01/12 Sonic Wali NSA 2400 SLF l 10 692.80 0.00 692.00 109.89 69.28 178.97
03101/12 APC SKVA UFS Server Eack-Up SLP l 10 4,432.34 a.oo 4.432.84 701.86 443.28 1 ,145.14
06/01/12 Si‘.‘rvsr Sofiware SLP l 10 22.281.05 0.00 22.201 05 3.527.84 2,228.11 5.755.95
06/01!12 S¢Ner Video Card SLP I 5 1.072,73 0.00 1.872,73 593.04 374.55 9&7.59
06/01I12 HP Piciiani DL 120 Coid Piug SLF l 7 979.65 0.00 979.€6 221.59 139.95 361.54
06/20!12 Uiider-Ceunter Refiigefalor SLP I 7 1 ,544.38 0.00 1.644.38 805.41 234.51 1.040.32
08/27/12 2 Knoii Earceiona Chalrs (Miiiie’s Ofilce) SLP l 7 9.881.45 0.00 9.581.45 2,189.85 1.383.06 3.572.81
06l27l12 1 F|oience Knoil Bench - 2no' Ficnr Lobby SLP 17 3.971.69 0.00 3.971.69 898.55 587.38 1.465.73
07/31!12 55 Fiie Caiiinets (Asscited Sizes) SLP l 7 23,256.86 0.00 23.256.86 11.391.12 3.322.41 14.713.53
07[31/12 12 Confelence Room Chaim SLF I 7 7,118.52 0.00 7,118.52 1.525.40 1.016.93 2,54233
07131/12 24 Oilice Guesi Chairs SLP I 7 17,755.77 0.00 17.755.77 3.804.81 2..5.54 6.341.35
07/31[12 11 Execuilve Oflice Chairs SLP l 7 9,64?_69 0.00 9.542.69 2.085,29 1,377.53 3.443.02
08/28/12 Dishes and Kiti:iien Accessciies SLP l 7 1.351.30 0.00 1.351.30 273.47 193.04 486.51
08/30/12 Misceiianeous File Cabinels SLP / 7 6,792.68 0.00 6,792.68 1.3'1`4.71 970.38 2.345.08
09/03{12 Barciaoi for Siudenl Desk SLP l 7 69.89 0.00 69.99 13.33 1 o.uo 23_33
09l1 011 2 Cisco ASA - Any Conneci VPN SLP l 6 1 .407.25 0.00 1 ,407.26 375.27 281.45 656.72
09/10!12 Neigesr \MrelLss Router SLP l 7 319.34 0.00 319.34 BD.BS 45.62 106.45
09111!12 Ovai Walnut Tabie - RRF Ofiice SLP l 7 6.495.00 0.00 6,49 5.00 827.86 927.86 1,855.72
09/12!12 Xerox 8570 Coior Qube Printer (RRF) SLP l 5 849.77 0.00 849.77 225.60 169.95 395.55
09112!12 Xemx 8570 Coior Qube Printer (MS) SLP l5 849.77 0.00 849.77 228.80 169.95 396.55
0811 2112 Samwng 46" Smart 'l'V - Lobby SLP l 5 2,002.63 0.00 2.002.63 534.04 400.53 934.!:7
115/12/12 Wireless Polycom Souridsiation SLP l 7 773.32 0.00 775.32 148.25 111.19 259.44
09/12/12 Samsung Phone Sy$i¢m wl 21 Pi'ioncs SLP l 10 15.217.62 0.00 19.217.62 2,582.35 1,921.76 4,484_11
09l17l12 HP Elite 8300 CMT Computer (Samlna) SLP l 5 2,551.45 0.00 2,561.45 680.39 510.29 1 ,100.68
08123/12 Wali Prlnts for Ofiice (Llndy) SLP l 3 2.490.27 0.00 2.4§0.27 1 ,105.75 030.09 1 ,938.08
09!23/12 Wali Prinls for Ofiicc (Lindy) SLP I 3 1.846.12 0.00 1.846.12 820.49 615.37 1.435.86
10l23/12 6 CiiairMais SLP l 5 1 .500.35 0.00 1 .500.35 375.0€ 300.07 575.16
1 0/23/12 Wali Prlrits for Oiiice (Undy) SLP l 3 3,135.27 0.00 3,135.27 1,308.36 1,045.09 2,351.45
1 1I08l12 iGichen Wali CiOCk SLP l 5 151 .45 0.00 1 51 .45 35.34 30.29 65.63
1 1l1 8/12 Wa§ebasket - 4ii1 Ficnr Lobby SLP l 7 397.00 0.00 397.00 68.10 56.71 1 22.07
11I28l12 2 3evi'lie Chairs - 2rid Fioor chby SLP l 7 6.059.81 0.00 6.059.81 1.009.97 865.89 1,815.56
11128l12 2 Parscns Enii Tabies (LobbylMHlie‘s Oiiice) SLP l 7 938.55 0.00 938.56 156.43 134.08 290,51
03111/13 HF’ Desidcp E|iie sam Computer (CO) SLP 15 1.211.32 0.00 11211.32 201.89 242.26 444.15
03[13[13 2 Samsung 19" MnnRors (CO) SLP l 5 338.95 0.00 338.95 56.49 67.79 124.28
04105/13 Breihe.r Hi.545<JDN Frinter (Recepticn) SLP l 5 233.13 O.en 238.13 35.72 47.63 83,35
04/05(13 Bmiher i-iL£-t$iJDN Pririier (CO) SLPI 5 238.13 0.00 238.13 35.72 47.63 63.35
04/05/13 Bmiher HLS4500N Prir\ier (Samina) SLP I 5 238.13 0.00 238.13 35.72 47.63 83.35
04I19I13 Acer AC 22° Mortilor (Spare Oiiice) SLP l 5 216.47 0.00 216.47 3?_47 4329 75.76

 

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Page¢ 10[2

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ASSET DEPREClATiON SHORT REPORT
Fretz Constructiori Company- Dec. 31, 2014

Assets: 68 of 188 included
inciude: Excluda disposed assets

Metho'd: EOOK - Sid Conv Applled

Stiri #1: AssatAlC#

 

 

 

 

includes Sectlcn 175 "_-

Date Acq Description Methli.ife Cost Saivage Vaiuo Dopr Basls Beg AIDepr Cueropr End NDepr
As$et A.iC\‘¢: 01 -1440 - FURNiTURE & FiXTURES
0412$/13 Sheiving in Basemeni SLP l 7 11,504.58 0.00 11.504.58 1.232.63 1.643.51 2.876.14
00104/14 A Kiiciien Chalrs (an F|oor) SLP l 7 385.37 0.00 385.37 0.00 32.11 32.11
07/00/14 A sit-inch Vizio Smett `iV (Corit'arence Room] SLF / 5 925.00 0.00 525.00 0.00 92.50 82.50
12111114 A Deli 23.8“ Moriliol'li(ybfdlMouse (JB) SLP 1 5 887.51 0.00 887.61 0.00 14.79 14,79
12110/14 A HP 2420 Workslaii°n (MN) SLP l 5 1.665.97 0.00 1,685.97 0.00 2?.77 27.77
12118114 A HP 2440 Worksiellcn (MS) SLP I 5 2.055.67 0.00 2.055.67 0.00 34.25 34.28
Totais: 01-1440 - Fi.iRNiTURE & FiXTURES [62 assets ) 262.710.24 0.00 262.710.24 72.576.30 33.042.93 105.519.23

Giand totals for all accounts: ( 66 awets ) 357.640.$8 0.00 357.640.69 164.827.28 35.052.51 199.879.79

Codns that may appear next to the date acquired inciudoi A - Adr.iition, D - Disposai, T- Tr:ided, l - lnactive, C - Con_struction In Progro:s. MQ - Mid Quartor Appiied

 

 

 

 

 

 

Additiorial Summary Sti\tisti’cs: Cost Curr Vr Saiv Prior Yr Seiv Dopr Basis Be§ AlDepr Curr Ai‘Depr Erid AlDepr Net Bo pielet
Gi=nd Toiais far Ali Ass¢i§ 357.640,69 0.00 0.00 357.640.69 164,827.28 35,052.51 199,879.79 157,760.90
inactive Assets 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.00
Less: Disposed Asseis 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.00
Less: Traded Assets 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.00
Net Toiais (Aciive & inactive Asseis) 357.640.69 0.00 0.00 357.640.89 164.827.28 35.052.51 159.879.79 157 .'160.90
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